USCA11 Case: 23-11876    Document: 29-1     Date Filed: 08/20/2024   Page: 1 of 5




                                               [DO NOT PUBLISH]

                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                          ____________________

                                No. 23-11876
                          Non-Argument Calendar
                          ____________________

       UNITED STATES OF AMERICA,
                                                      Plaintiﬀ-Appellee,
       versus
       DEAUNDRE LAMAR COBB,


                                                  Defendant-Appellant.


                          ____________________

                 Appeal from the United States District Court
                     for the Middle District of Alabama
                  D.C. Docket No. 3:21-cr-00340-TES-SMD-1
                          ____________________
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       2                      Opinion of the Court                   23-11876


       Before WILSON, LUCK, and DUBINA, Circuit Judges.
       PER CURIAM:
              Appellant Deaundre Cobb appeals his conviction for posses-
       sion of a firearm and ammunition by a convicted felon, in violation
       of 18 U.S.C. § 922(g)(1). Cobb argues that the district court erred
       by denying his motion to suppress evidence, as the warrantless
       search of his backpack was not a valid search incident to arrest, be-
       cause Cobb was handcuffed and surrounded by several officers
       when police searched his backpack. Having reviewed the record
       and read the parties’ briefs, we affirm Cobb’s conviction.
                                             I.
              We review a denial of a motion to suppress under a mixed
       standard of review: the district court’s findings of fact are reviewed
       for clear error, while the district court’s conclusions of law are re-
       viewed de novo. United States v. Harden, 104 F.4th 830, 833 (11th Cir.
       2024). We must construe all facts in the light most favorable to the
       party that prevailed in the district court. United States v. Morley, 99
       F.4th 1328, 1336 (11th Cir. 2024). “We may affirm the denial of a
       motion to suppress on any ground supported by the record.”
       United States v. Cohen, 38 F.4th 1364, 1368 (11th Cir. 2022).
                                            II.
              The Fourth Amendment safeguards the rights of the people
       to be free from unreasonable searches and seizures. U.S. Const.
       amend. IV. To challenge a search as violative of the Fourth
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       23-11876               Opinion of the Court                          3

       Amendment, a defendant must have a reasonable expectation of
       privacy in what has been searched. Cohen, 38 F.4th at 1368. Indi-
       viduals generally have a reasonable expectation of privacy in items
       such as bags and personal luggage. See United States v. Barber, 777
       F.3d 1303, 1305 (11th Cir. 2015); United States v. Cofield, 272 F.3d
       1303, 1306 (11th Cir. 2001).
              A search conducted without a warrant is usually presump-
       tively unreasonable. United States v. Yarbrough, 961 F.3d 1157, 1163
       (11th Cir. 2020). However, police are permitted to search for weap-
       ons or evidence incident to the lawful arrest of a suspect. United
       States v. Bennett, 555 F.3d 962, 965-66 (11th Cir. 2009). We have
       upheld searches incident to arrest of a container belonging to an
       arrested suspect in a variety of factual contexts. See United States v.
       Rosenthal, 793 F.2d 1214, 1232 (11th Cir. 1986) (search of handbag),
       modified, 801 F.2d 378 (11th Cir. 1986); United States v. Richardson,
       764 F.2d 1514, 1527 (11th Cir. 1985) (search of wallet); United States
       v. Sonntag, 684 F.2d 781, 786 (11th Cir. 1982) (search of wallet);
       United States v. Roper, 681 F.2d 1354, 1357 (11th Cir. 1982) (search
       of metal brief case and zippered shoulder bag), overruled on other
       grounds by United States v. Watkins, 10 F.4th 1179 (11th Cir. 2021) (en
       banc). The fact that a suspect has been handcuffed does not prevent
       the police from conducting a valid search incident to arrest of items
       within the suspect’s close proximity. Roper, 681 F.2d at 1357. Even
       after police have gained control over an item belonging to a sus-
       pect, officers may search that item incident to an arrest. Richardson,
       764 F.2d at 1527.
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       4                       Opinion of the Court                  23-11876

                While a Fourth Amendment violation can trigger the exclu-
       sionary rule, which requires a court to suppress evidence, there are
       several exceptions to the exclusionary rule. United States v. Wat-
       kins, 13 F.4th 1202, 1210 (11th Cir. 2021). One exception to the
       exclusionary rule is the doctrine of inevitable discovery, which al-
       lows for admission of evidence that would have been discovered
       even absent the conduct that gave rise to the claimed Fourth
       Amendment violation. Id. For evidence to qualify for admission
       under the inevitable discovery rule, the government must show by
       a preponderance of the evidence that the evidence in question
       would have been discovered by lawful means that would have oc-
       curred by virtue of ordinary evidence or leads the police already
       possessed. Id. at 1211. If the contents of an arrested suspect’s bag
       would have been discovered through an inventory search as part
       of standardized police procedure, the inevitable discovery excep-
       tion is applicable. United States v. Rhind, 289 F.3d 690, 694 (11th Cir.
       2002).
                                            III.
               The record here demonstrates that the district court did not
       err in denying Cobb’s motion. A magistrate judge found that Cobb
       was standing near Oﬃcer Lanier, in close proximity to the back-
       pack, at the time of the search. The district court adopted the mag-
       istrate judge’s report, and correctly concluded that the search was
       thus a valid search incident to arrest. Further, Oﬃcer Thomas’s
       testimony at the suppression hearing established that the contents
       of the backpack would have been inevitably discovered as part of a
       routine inventory search by the Auburn Police Department.
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       23-11876              Opinion of the Court                      5

       Because the district court did not err in denying Cobb’s motion to
       suppress, we need not decide whether any purported error was
       harmless as the government contends. Accordingly, based on the
       aforementioned reasons, we aﬃrm the district court’s order deny-
       ing Cobb’s motion to suppress and thus his conviction.
             AFFIRMED.
